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               IN THE UNITED ST ATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                        NORTHERN DIVISION

ANTHONY GIPSON
ADC #105246                                                      PLAINTIFF

v.                         No. 3:20-cv-141-DPM

BRENT COX, Administrator, Greene
County Detention Center; and
STEVE FRANKS, Sheriff, Greene County                        DEFENDANTS

                                   ORDER
        Gipson hasn't responded to the recommendation; instead, his
mail is now being returned undelivered. Doc. 5. The Court adopts
Magistrate Judge Volpe' s unopposed recommendation, Doc. 4.              FED.

R. CIV. P. 72(b) (1983 addition to advisory committee notes).       Gipson's
complaint will be dismissed without prejudice for failure to state a
claim.      This dismissal counts as a "strike" for purposes of 28 U.S.C.
§ 1915(g).         An in forma pauperis appeal from this Order and
accompanying Judgment would not be taken in good faith.             28 U.S.C.
§    1915(a)(3).
        So Ordered.


                                     D.P. Marshall Jr. f
                                     United States District Judge
